          Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 1 of 34



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

HENRY THIGPEN, et al.,                        §
  Plaintiffs                                  §
                                              §
     v.                                       §                   Cause No. 4:19-CV-2773
                                              §
GEO REENTRY, INC.                             §
  Defendant                                   §

                     NOTICE OF REMOVAL TO FEDERAL COURT

TO THE HONORABLE DISTRICT COURT JUDGE:

           NOW COMES GEO Reentry, Inc., a Defendant in the above styled and numbered

cause, and files this Notice of Removal. As grounds for removal, Defendant would show

as follows:

1.         GEO Reentry, Inc. is a Defendant in a civil action pending in the 269th Judicial

District Court, Harris County, Texas, styled HENRY THIGPEN, et al. v. GEO

REENTRY, INC., Cause No. 2019-51349, which was filed in that court on July 26, 2019.

The Plaintiffs allege the negligence of the Defendant caused them personal injuries and

mental anguish. They have demanded damages in excess of the minimum amount

necessary for diversity jurisdiction.

2.         Removal is proper because this Court has diversity jurisdiction pursuant to 28

U.S.C. § 1332(a)(1). Plaintiffs are residents of Harris County in the State of Texas, and

GEO Reentry, Inc. is a citizen of the State of Deleware, the state in which it is




Notice of Removal
Thigpen v. GEO Reentry, Inc.
Page 1
      Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 2 of 34



incorporated, and of the State of Florida, in which it has its principle place of business.

Accordingly, removal is proper under 28 U.S.C. § 1441(b).

3.      Pursuant to 28 U.S.C. § 1446(a), attached hereto are copies of all process,

pleadings and the orders served upon Defendant in the state court proceeding. (Exhibit

A).

4.      The action was commenced on July 26, 2019. Defendant filed an answer in the

state court on July 27, 2019.

5.      This notice of removal is timely under 28 U.S.C. § 1446(b) because this notice of

removal is filed less than thirty (30) days after Defendant first accepted service of a copy

of a paper from which it could first ascertain that the case is one which is or has become

removable. Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354, 119

S.Ct. 1322, 143 L.Ed.2d 448 (1999) (Removal deadline runs from date of service); City

of Clarksdale v. BellSouth Telecomms., Inc., 428 F.3d 206, 210 (5th Cir. 2005) (same).

6.      The district courts of the United States have original jurisdiction over this action

based on complete diversity of citizenship between the parties, in that every properly

joined and served defendant is now, and was at the time the action was commenced,

diverse in citizenship from every plaintiff. Plaintiffs are, and were at the time the suit was

commenced, citizens of the State of Texas residing in Harris County, Texas. Defendants,

GEO Reentry, Inc., and GEO Reentry Services, LLC are, and were at the time the suit

was commenced, citizens of states other than the state of Texas with principle places of

business in the State of Florida. Accordingly, none of the properly joined defendants is a


Notice of Removal
Thigpen v. GEO Reentry, Inc.
Page 2
      Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 3 of 34



citizen of the State of Texas, and the parties are completely diverse. Plaintiff's petition,

attached, asserts a claim against Defendant in excess of $75,000.00, exclusive of interest

and costs; therefore, this Court has diversity jurisdiction pursuant to 28 U.S.C. §

1332(a)(1).

7.      Venue is proper in the United States District Court, Southern District of Texas,

Houston Division, as the district and division embracing the place where the state action

is pending. 28 U.S.C. §§ 1441(a), 1446(a).

8.      Pursuant to 28 U.S.C. § 1446(d), Defendant intends to serve written notice of this

removal upon all interested and adverse parties and upon the Clerk of the Court for the

269th Judicial District Court of the State of Texas, Harris County, Texas, promptly after

filing this Notice of Removal.

9.      Defendant GEO Reentry Services, LLC also answered in the state court and

consents to this removal. There are no other defendants, properly joined and served, to

join in or consent to the removal of the action. 28 U.S.C. § 1446(b)(2)(A).

        WHEREFORE, PREMISES CONSIDERED, GEO Reentry, Inc., a Defendant in

this action, pursuant to these statutes and in conformance with the requirements set forth

in 28 U.S.C. § 1446, removes the case styled HENRY THIGPEN, et al. v. GEO

REENTRY, INC., et al. Cause No. 2019-51349 from the 269th Judicial District Court,

Harris County, Texas, to this Court on this 27th day of July, 2019.




Notice of Removal
Thigpen v. GEO Reentry, Inc.
Page 3
      Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 4 of 34



                                             Respectfully Submitted,


                                                /s/ Timothy Flocos
                                             Timothy Flocos
                                             BRUKSTERN FLOCOS & ASSOCIATES,
                                             LLP
                                             611 West 14th Street, Suite 200
                                             Austin, Texas 78701
                                             (512) 467-6076
                                             tflocos@bfa-law.com


                                                    /s/ Shawn Fitzpatrick
                                             Shawn Fitzpatrick
                                             FITZPATRICK & KOSANOVICH, P.C.
                                             P.O. Box 831121
                                             San Antonio, Texas 78283-1121
                                             (210) 408-6793
                                             skf@fitzkoslaw.com

                                             Counsel for Defendant


                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument has been served
on the following interested person(s) on July 27, 2019, via U.S. Mail:
      Scott Arnold
      The Law Office of Scott Arnold, PC
      310 Main Street, Ste. 200
      Houston, Texas 77002

      Maverick Ray and Matthew Marzak
      Maverick Ray and Associates, LLC
      310 Main Street, Ste 300
      Houston, Texas 77002




Notice of Removal
Thigpen v. GEO Reentry, Inc.
Page 4
      Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 5 of 34




                     Exhibit A




Notice of Removal
Thigpen v. GEO Reentry, Inc.
Page 5
      Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 6 of 34                             7/26/20191:57 PM
                                                                            Marilyn Burgess - District Clerk Harris County
                                                                                                 Envelope No. 35466651
                          2019-51349 / Court: 269                                                 By: Miaeda Hutchinson
                                                                                                Filed: 7/26/20191:57 PM

                                     No.______

HENRY THIGPEN, ET AL.                               §      IN THE DISTRICT COURTY OF
         Plaintiff                                  §
                                                    §
vs.                                                 §      HARRIS COUNTY, TEXAS
                                                    §
GEO REENTRY, INC.; GEO REENTRY                      §
SERVICES, LLC; MUNICIPAL                            §
CORRECTIONS FINANCE LP;                             §
CORNELL CORRECTIONS OF TEXAS, INC;                  §
CORNELL CORRECTIONS MANAGEMENT,                     §
LLC; and STEVEN BLANCHARD, Individually.            §
                 Defendants                         §      --- JUDICIAL DISTRICT


                           PLAINTIFFS' ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, HENRY THIGPEN, and the additional Plaintiffs listed in Paragraph I,

below, hereinafter collectively called "Plaintiffs", complaining of GEO REENTRY, INC., and

GEO REENTRY SERVICES, LLC, and MUNCIPAL CORRECTIONS FINANCE LP, and

CORNELL CORRECTIONS OF                 TEXAS,      INC.,   and CORNELL          CORRECTIONS

MANAGEMENT, LLC, and STEVEN BLANCHARD, and hereinafter sometimes collectively

called "Defendants" and will show:

                                       I. PLAINTIFFS

       The following Plaintiffs are individual residents of Harris County, Texas:

Adams, Charles; Allen, Johnelle; Anderson, Alan Dale; Anderson, Lloyd Edward; Apolinar,

Rogelio; Ardrey, Robert; Arlington, Pitte; Arriaga, Raymond; Bagby, Cedric W; Bardo II,

Charles F; Beaver, Morris D; Bellotte, Ernest; Blackshear, Weldon; Block, Thomas H; Borrego,

Tony; Bowie, Douglas N; Boyd, Davis L; Brady, Reginald; Branch, Jesse Jr.; Brimsey, John;

Bui, Hoai; Burton, Harry Robert; Bums, Sammie; Caldwell, Ronald; Campos, Juan; Cantwell,
      Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 7 of 34



Lee; Carr, Eric W; Carraway, Deforiest; Casey, Zimman; Coke, Anthony; Coleman, Lawrence;

Crawford, Everett; Criss, Craig Anthony; Cross, Kendrick; Daniel, Lonnie; Daniel, Richard;

Davis, Donald; Davis, Phillip; Davis, Richard; Delgado, Benjamin; Dent, Johnnie; Doyle,

Joseph; Drewry, Horace N; Dykes, James; Durden, Leo II; Durden, Ronald; DuRousseau, Clyde;

Equia, Hipolito; Everage, Bradley; Everitt, Randy; Falcone, David Daniel; Farmer, Louis Oliver;

Fondren, Michael; Galentine, Dwain; Gann, Gordon; Garcia, Dominic R; Garcia, Gabriel;

Garcia, Rudolph; Garrett, Eddie R; Garrick, Byron Christopher; Garza, Julian; Gee, Wilson;

Gentry, Arnold; George, Freddie A; Gilbert, Marion Anthony; Gilpin, Dwayne; Goleman,

Lawrence; Gomez, Michael L; Gonzales, Albert Ramirez; Gonzalez, David; Gonzales, Ronnie;

Goodeau, Anthony; Green, Noble L; Griffin, James; Grines, Daniel E; Hair, James; Hammers,

Gregory; Harris, Michael M; Hawkins, David L; Hayes, Reginald; Henderson, Chester;

Henderson, Gregory; Henry, James; Higgins, George; Hinojosa, Cruz Joaquin; Hodges, Kenneth;

Holland, Jordan; House, Gregory D; Hull, Erik; Jackson, Luckes; Jackson, Patrick D; Jimmy,

Stewart; Johnson, Anthony A; Johnson, Sean; Jones, Issac R; Jones, Kevin; Joseph, Manuel;

Keith, Roger Dale; Kendrick, Daniel; Kindelan, Alcides; King, Steven; Kittrell, Quillis;

Lacefield, Curtis; Laird, Don Melton; Larsen, Brett; Laundry, David; Lawson, Jonathon; Lavan,

Eugene; Lazaro, Perez; Ledesma, Jesse J; Lee, Bobby; Lee, Gentry A; Johnson, Anthony; Lowe,

Ricky; Lozano, Jesse; Luna, Joe; Maddoux, James; Martin, David L; Martinez, Jesus Jesse;

Martinez, Sergio; Martinez, Steven; McBumett, Fred; McCarty, Randy A; McClure, Joseph;

McCullough, Samuel; McDowell, Derrell Wayne; McWilliams, Randy Edwards; McPowell,

Derrell; Mena, Diego; Mike, Donald R; Miller, Gerald Lynn; Miller, Willie; Milligan, Mark;

Millines, Wilbert J Jr.; Montgomery, Billy; Morris, Joseph; Mortensen, Bruce H; Moya,

Michael; Murry, Richard; Myers, Herbert L; Nealy, Joseph; Nealy, Timothy; Newman, Richard;



                                                                                             2
       Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 8 of 34




Newton, Mark E; Noratmacfie, Arnold; Norris, Alphonse; Olinger, Jeremy Sean; Parker, Arnold

R; Patterson, Charles; Payne, Joseph; Penny, Mark Bradley; Pena, Roberto; Perez, Lazaro;

Phelps, Trevor; Pickett, Christopher L; Pittie, Arlington; Pleasant, Barry; Poehls, Ricky; Poutler,

Michael; Price, Devin; Rash, Lenny; Ray, Ricky; Reece, Thomas; Reynolds, Thomas; Roberson,

James A; Robinson, Alonzo; Rodriguez, Alberto; Rodriguez, Daniel; Rodriguez, Luis;

Rodriguez, Raymond; Rosa, Clifford; Ross, Steven S., Sanchez, Mario; Sandoval, Ernesto;

Sanders, Joseph; Sellers, Michael Lee; Shelby, Thomas E; Sherman, Taylor; Shinkewicz,

Michael James; Smith, Lewis; Soloman, Daniel; Sotomayor, Rafael; Spelman, Tommy; Spence,

Charles E; Stewart, Damion T; Stewart, Jimmy L; Taylor, Sherman R; Thigpen, Henry;

Thomason, Michael; Thompson, Russell; Thurman, Randall; Turk, Howard Edward; Turner,

Edgar; Urbina, Roger; Vasquez, Ricardo; Walker, Carl Edwards; Walker, David 0; Wel1er,

Gunther; White, Leonard Jr.; Whittenburg, John C; Williams, Aaron Jerome; Williams, Billy R;

Williams, Erving; Williams, Jeremy; Williams, Johnny R; Wilson, Loren M; Woods, Kenneth

W; Wright, Darrell T.

                                       II. DEFENDANTS

       Defendant GEO Reentry, Inc. and dba GEO Reentry Services and dba GEO Reentry

Services, Inc. and dba Southeast Texas Transitional Center and dba Cornell Corrections of

Texas, Inc. and dba Cornell Corrections Management, LLC is a foreign entity doing business in

Texas and may be served on its registered agent Corporate Creations Network Inc., 2425 W

Loop South #200, Houston, TX 77027.

       Defendant GEO Reentry Services, LLC and dba GEO Reentry Services and dba GEO

Reentry Services, Inc. and dba Southeast Texas Transitional Center and dba Cornell Corrections

of Texas, Inc. and dba Cornell Corrections Management, LLC is a foreign entity doing business



                                                                                                 3
      Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 9 of 34




in Texas and may be served on its registered agent Corporate Creations Network Inc., 2425 W

Loop South #200, Houston, TX 77027.

       Defendant Municipal Corrections Finance LP dba Southeast Texas Transitional Center is

a foreign entity doing business in Texas and may be served on its registered agent Corporate

Creations Network Inc., 2425 W Loop South #200, Houston, TX 77027.

       Defendant Cornell Corrections of Texas, Inc. dba GEO Reentry, Inc. and dba GEO

Reentry Services and dba GEO Reentry Services, Inc. and dba Southeast Texas Transitional

Center and dba Cornell Corrections Management, LLC is a Texas based LLC and may be served

on its registered agent at 1700 West Loop South, Suite 1500, Houston, TX, 77027.

       Defendant Cornell Corrections Management, LLC dba GEO Reentry, Inc. and dba GEO

Reentry Services and dba GEO Reentry Services, Inc. and dba Southeast Texas Transitional

Center and dba Cornell Corrections of Texas, Inc. is a foreign entity doing business in Texas and

may be served on its registered agent at 621 N.W. 53 Street, Suite 700, Boca Raton, FL, 33487.

       Defendant Steven Blanchard is an individual resident of Harris County, Texas, and may

be served at his office at 10950 Beaumont Highway, Houston, Texas, 77078.

                                Ill. JURISDICTIONNENUE

       This Court has jurisdiction over this matter. Venue properly lies in Harris County, Texas,

the County in which the injuries occurred and Plaintiffs' cause of action accrued and where one

or more of the Defendants reside.

                                          IV. FACTS

       On or about August 24, 2017, and in the days prior thereto, Plaintiffs were residents at

the Southeast Texas Transitional Center ("STTC"), a facility run by GEO Reentry Services, and

the other corporate Defendants listed herein.     These corporate Defendants are sometimes




                                                                                                 4
      Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 10 of 34




hereinafter collectively called "GEO". GEO is a large national company that owns and/ or

operates a huge chain of private prisons, as well as halfway houses for parolees. Defendant

Municipal Corrections Finance LP owns the land and buildings at the aforementioned facility,

STTC. Defendant Steven Blanchard is the Senior Facility Director of STTC. Defendant Steven

Blanchard is responsible for all policy, staff, and every aspect of the daily administration and

operation of the STTC. The STTC is contracted to the State of Texas to provide housing,

supervision and, care to Plaintiffs.   Defendants had contracted with the Texas Department of

Criminal Justice ("TDCJ") therefore, but by statute do not enjoy sovereign immunity. Plaintiffs

had fully completed their prison terms, had repaid their debt to society, and were earnestly

attempting to find jobs and reenter society as productive members. Defendants were charged

with helping them do that-but completely and utterly failed them during Hurricane Harvey.

Despite accurate weather forecasting, warnings by governmental entities, and amid massive

preparations by other citizens of Harris County and surrounding areas for the impending,

virtually certain, massive assault of Hurricane Harvey, the Defendants abandoned nearly 500

residents of said STTC located at 10950 Beaumont Hwy., Houston, Texas 77078 , to fend for

themselves, without food, clean water, medical care or needed prescription drugs, supervision,

security, or any other minimally sufficient preparations. The Plaintiffs were trapped in the

flooded facility, with few or no agents or employees of Defendants (which had previously fled).

The STTC facility is located between a landfill and a hazardous waste processing and cleaning

facility, all of which flooded and subjected Plaintiffs of up to waist-high water filled with the

filth and toxins from the surrounding landfill and toxic waste facility. Plaintiffs were precluded

from leaving the premises because it would be a violation of their parole, and they were advised

by the Texas Department of Corrections and by Defendants, that if they did leave they would be




                                                                                                5
      Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 11 of 34



subject to a "blue warrant", potentially sending them back to prison. Defendants were thus

presented with a Hobson's choice of either remaining on the premises in its flooded condition,

with no food, water, medicine, security and other severe health challenging conditions, as versus

leaving the facility and thereby risking their freedom and return to prison for a parole violation.

Plaintiffs were nearly starved, were dehydrated and incurred rashes, infections and other injuries

from the toxic flood waters. Many residents had preexisting mental and physical disabilities and

medical conditions that required medication and medical monitoring -none of which was

available, and which caused severe mental and physical distress. All security monitors left their

posts, and the front gate was left wide open, subjecting the Plaintiffs and others to potential

personal security risks.

       On late Tuesday night, August 29th, 2017, after four days of barbaric conditions, after the

flood waters had subsided, the Texas Department of Criminal Justice sent buses and loaded the

residents, at gunpoint, and took them to various TDCJ facilities. They were forced to abandon all

their personal possessions, most of which were irretrievably lost. They suffered further

indignities, humiliation and health challenging conditions thereafter, but these outrages were

committed by the sovereign immunity protected TDCJ personnel and system.

                                       V. NEGLIGENCE

           Defendants were negligent, and violated the standard of the reasonable transitional

center owner and operator due to the actions and omissions of their agents and employees acting

in the course and scope of their employment.

           Defendants also have direct negligence as set out below for failure to have in place

policies and procedures to prevent these types of occurrences; failing to have sufficient fellow

workers and failing to properly supervise their agents and employees in the course of their duties.




                                                                                                 6
      Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 12 of 34




          These are acts of direct negligence; the "premises" tort law factors do not apply, thus

lessening the burden on the Plaintiff.

       The following acts and omissions proximately caused the harm to Plaintiffs:

        1. Failure to adequately feed,

       2. Failure to supply clean water for bathing and/or drinking,

       3. Failure to provide security monitors; failure to protect residents from potential

           resident-on-resident crime,

       4. Failure to safeguard personal belongings of residents,

       5. Failure to provide medical treatment, including, but not limited to that for the

           mentally ill, handicapped, diabetic. and to provide other needed medications and to

           treat the conditions of skin rashes, cuts, infections and dehydration caused by the

           flooding,

       6. Failure to implement the Hurricane Plan, as promised in the official policy handbook,

       7. Failure to take reasonable steps to avoid residents breaching parole; by trapping them

           inside, without adequate food or water, and in knee to waist high water with the

           security gates open, under threat of "'blue warrant" revocation of parole, if they left

           the premises; which gave residents a "Hobson choice" of surviving or going back to

           prison,

       8. Failure to safeguard residents from exposure to chemicals/toxins from the adjoining

           landfill and/or from the immediately adjoining hazardous material storage,

           transportation and cleaning companies,

       9. Failure to evacuate, with knowledge of previous flooding and the virtual certainty of

           flooding during Harvey, and



                                                                                                7
      Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 13 of 34




        10. Failure to safeguard public by manning security gate or securing perimeter.

                         VI. STEVEN BLANCHARD NEGLIGENCE

       Defendant Steven Blanchard was negligent, and violated the standard of the reasonable

transitional center operator due to his actions and the actions and omissions of STTC' s agents

and employees acting in the course and scope of their employment.

        Defendant Steven Blanchard also has direct negligence for failure to have in place

policies and procedures to prevent these types of occurrences; failing to have sufficient fellow

workers and failing to properly supervise their agents and employees in the course of their duties.

       Plaintiffs incorporate all the allegations of negligence set out in the previous Paragraph V

as applicable to the said individual Defendant as it fully set out.

                                     VII. PREMISES CLAIM

       In the alternative, Defendants' conduct, and that of its agents, servants, and employees,

acting within the scope of their employment, constituted a breach of the duty of ordinary care

owed by Defendants to Plaintiffs. Defendant knew or should have known that a condition on the

premises created an unreasonable risk of harm to invitees in that Defendants knew or should

have known of the likelihood of an injury such as Plaintiffs suffered, to warn thereof and of the

other acts of negligence set out in Paragraph V, above. Defendants knew or should have known

that its conditions on its premises created an unreasonable risk of harm to invitees because

Defendants created, allowed and/or failed to prevent said conditions. Defendants knew these

conditions caused an unreasonable risk of harm to invitees such as the Plaintiffs, who had to live

in said environment. Defendants failed to exercise ordinary care to reduce or eliminate this risk,

or to warn invitees regarding the above dangers. Each of these acts and omissions, whether

taken singularly or in any combination, were a proximate cause of Plaintiffs' injuries and




                                                                                                 8
      Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 14 of 34




damages as described below.

            VIII. INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       In the alterative, Defendants' conduct, and that of their agents, servants and employees,

while acting within the scope of their employment, was intentional and/or reckless, constituting

both extreme and outrageous conduct, which is the proximate cause of Plaintiffs' severe

emotional distress. Defendants' intentional and/or reckless conduct resulted in Plaintiffs being

trapped at the Southeast Texas Transitional Center during Hurricane Harvey and the subsequent

flooding of same for at least four days. During the duration of Plaintiffs four-day ordeal, and

beyond, Plaintiffs suffered and/or still suffer from severe emotional distress.

                                   IX. PUNITIVE DAMAGES

       The acts and omissions enumerated above, by a clear and convincing evidence standard,

caused the harm to Plaintiffs and resulted from gross negligence attributable to the Defendants.

       When viewed objectively from the standpoint of Defendants at the time of its occurrence,

their above acts and omissions involved an extreme degree of risk, considering the probability

and magnitude of the potential harm to others; and Defendant had actual, subjective awareness of

the risks involved, but nevertheless preceded with conscious indifference to the rights, safety, or

welfare of others.

       Further, Defendants authorized the doing and the manner of said acts and omissions, or

their agents or employees were unfit and Defendants were reckless in employing them, or their

culpable agents or employees were employed in a managerial capacity and were acting in the

scope of employment, or Defendants and/or a vice-principal and/or a manager of Defendants

ratified or approved the said acts and omissions.

       As a result of said gross negligence, Plaintiffs are entitled punitive damages allowed by



                                                                                                   9
       Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 15 of 34




law.

                            X. DAMAGES TO THE PLAINTIFFS

        Plaintiffs will respectfully request the Court and Jury to determine the amount of loss

Plaintiffs have incurred and will incur in the future not only from a financial standpoint but also

in terms of good health and freedom from pain and worry. There are certain elements of

damages provided by law that Plaintiffs are entitled to have the jury in this case consider

separately to determine the sum of money for each element that will fairly and reasonably

compensate Plaintiffs for the injuries, damages and losses incurred from the date of the accident

in question until the time of trial of this case. Those elements of damages are as follows:

        I.     The physical pain that the Plaintiffs have suffered from the date of the occurrence
               in question up to the time of trial, and will in reasonable probability suffer in the
               future;

        2.     The mental anguish that the Plaintiffs have suffered from the date of the
               occurrence in question up to the time of trial and will in reasonable probability
               suffer in the future;

        3.     The amount of reasonable medical expenses necessarily incurred in the treatment
               of Plaintiffs' injuries from the date of the accident in question up to the time of
               trial and will in reasonable probability suffer in the future;

        4.     The loss and/or reduction of earnings and/or earning capacity sustained by
               Plaintiffs from the date of the occurrence in question up to the time of trial and
               will in reasonable probability suffer in the future;

        5.     The physical impairment which Plaintiffs have suffered from the date of the
               occurrence in question up to the time of trial and will in reasonable probability
               suffer in the future;

        6.     Disfigurement of Plaintiffs' bodies up to the time of trial and that they will in
               reasonable probability suffer in the future;

        7.     For the loss of Plaintiffs' personal property, Plaintiffs claim the replacement
               and/or actual/intrinsic value damages, in addition to sentimental value damages,
               which is the reasonable special value to each Plaintiff.




                                                                                                 IO
       Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 16 of 34




                                              PRAYER
        \.\'HEREFORE. PREivHSES CONSIDERED. Plaintiff-; pray that upon final hearing

hereof: Plaintiffs recover judg1nen1 against Defendants., jointly and severaily. for their fair and

just darnages to vd1ich they are entitled, plus punili ve darn ages, together with costs, pre --judgment

and post-judgment interest and such other and further relief to \\·hich Plaintiffs rnay be justly

entitled, at la\v or in equity.




                                                Houston, Texas 77002
                                                Td: (713) 227�6653
                                                Fax: (713} 227�6654
                                                State Bar No. Ol345470
                                                Enmi l: scot!/i/scottamoldpc.com
                                                1-' TTOPNF'-"
                                                      .         F('ip Pl ,, IN.l'l'"FS                                                                          ......... .
                                                , �-       .     ..,, ... ) .                    /. � ' ,.,_. � .'. ....... :...t.� ..,.·.-·····"····
                                                                                             .-·············•'"""""'""




                                                .......................�---··.........
                                                ]Vlaverick Ray
                                                                                                   ____________
                                                State Bar No. 24080451
                                                !VIatthev-/ M. tv'larzak
                                                State Bar No. 24098048
                                                310 i\{ain. Suite 300
                                                Houston, Texas 77002
                                                Td: f:281) 947 <2007
                                                Fa:\.: (713) 714-2225
                                                c,ll"                         _ .........'d �01...,,1-:
                                                                    •. U ....1"1"'t"i··•·
                                                Lu. ;l.,t '1..'J •� r1·1·'v.                      J (..J,.cv,r,
                                                                                                            \ ·,_1·?.,.-,;_:,:::,-r,1•:
                                                                                                                                  .L (a.I,11··•1 • ,····11·11
                                                                                                                                                   w\.
                                                ATTORNEY FOR PL/\lNTIFFS




                                                                                                                                                                              11
    Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 17 of 34



                                    Cause No. 2019-51349

 HENRY THIGPEN, ET. AL.                §     IN THE DISTRICT COURT
                                       §
                                       §J
                Plaintiffs,             U
                                        §
                                        §D     HARRIS COUNTY, TEXAS
                    v.                   I
                                         §
                                         C
                                         §
 GEO REENTRY, INC.; GEO                  §I
 REENTRY SERVICES, LLC;                   A
                                          §
 MUNICIPLE CORRECTIONS FINANCE
 MUNICIPAL                                L
                                          §
 REENTRY   SERVICES     INC.,
 LP; CORNELL CORRECTIONS OF               D
                                          §
 MUNICIPAL
 TEXAS
 TEXAS,  INC.;CORRECTIONS      FINANCE
               CORNELL CORRECTION         I§
 LP, and CORNELLLLC;
 CORRECTIONS
 MANAGEMENT,        COMPANIES     INC.
                         and STEVEN        S
                                           §
                                           T
 BLANCHARD, Individually                   §
 GEO REENTRRY                              R
              Defendants.                  § 269TH JUDICIAL DISTRICT
                                           I
                                           C
                                           T
                                           8
                       ORIGINAL ANSWER3BY DEFENDANTS
           GEO REENTRY, INC. AND GEOR REENTRY SERVICES, LLC.
                                                 D
TO THE HONORABLE JUDGE OF SAID COURT:              J
                                                   U
        NOW COME Defendants GEO REENTRY,           D INC., and GEO REENTRY
                                                   I
 SERVICES, LLC. (“Defendants”) through their Cattorneys and file this Original Answer.
                                                   I
 Defendants would show the following:              A
                                                   L
                                                   D
                            I.     GENERAL DENIAL  I
                                                   S
    Pursuant to TEX. R. CIV. P. 92, and for the express
                                                   T       purpose of requiring Plaintiffs
                                                   R
    to meet their burden of proof, Defendants deny I    each and every allegation contained
                                                   C
    in Plaintiffs’ Original Petition, except those Texpressly admitted herein.
                                                   8
                                                   3
                         II.    NATURE OF THE      R CLAIMS
                                                 D
    1. Plaintiffs are Texas felons, conditionallyJreleased from prison and permitted to
                                                 U
       serve the remainder of their sentences under
                                                 D     the supervision and custody of the
                                                 I
       Texas Department of Criminal Justice - C  Parole Division (“TDCJ-PD”). See TEX.
                                                 I
                                                 A
                                                 L
                                                 D
                                                 I
Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 18 of 34



   GOV'T CODE § 508.001(5) and (6). The TDCJ-PD “supervise[s] and

   reintegrate[s] felons into society after release from confinement.” TEX. GOV'T

   CODE § 493.005.

2. Pursuant to that authority, the TDCJ-PD did not find Plaintiffs suitable for

   release into the Harris County general public, but instead placed them in the

   Southeast Texas Transition Center (“STTC”), a Houston area halfway house

   operated by Defendants. Plaintiffs released to the STTC were required to remain

   on the facility grounds unless the TDCJ-PD specifically approved any proposed

   trip into the community.

3. The STTC facility was formerly a bible college: it consists of six primary

   buildings including an administration building, a kitchen and mess hall, and

   four dorms. Three of the dorms are two-story, while one is one-story.

4. The STTC dorms hold nearly five hundred beds, arranged bunk-bed style, and

   house only male parolees. The TDCJ-PD pays for the room and board parolees

   are provided at the STTC from taxpayer funds.

5. The STTC is not a medical provider, and does not prescribe or provide

   medications. The facility stores the parolees’ medications in a secure medication

   room to help prevent medication theft and abuse. Parolees come to the

   medication room to self-administer their medications under supervision.

6. The STTC is not a prison or jail; if parolees placed there choose to leave without

   permission, the STTC has no authority to stop them. Instead, the STTC reports

   all absconders to the TDCJ-PD, which has the authority to take appropriate

   action, including revoking their parole and returning them to prison.

7. Plaintiffs claim they suffered damages when Hurricane Harvey flooding affected
Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 19 of 34



   the STTC from August 27 to August 29, 2017. The administrative building, mess

   hall, and the three two-story resident dorms experienced flooding on their first

   floors that peaked at about 16” to 18” – which is below the height of the bottom

   bunks.

8. Affected parolees and their bedding were temporarily moved to the second floor

   of their dorms, and the facility staff stayed on-site around the clock to mitigate

   the flooding, to maintain essential functions like the kitchen and the medication

   room, and to conduct rounds, roll calls, and counts until TDCJ-PD evacuated

   Plaintiffs to other facilities.

9. Plaintiffs no doubt experienced inconveniences during Hurricane Harvey

   flooding, just like the STTC staff and nearly every resident of Harris County and

   southeast Texas. Like nearly all of Houston, the flooding made Plaintiffs’

   normal routines impossible. But the flooding at the STTC was minimal, never

   reaching over calf height, and the TDCJ-PD relocated Plaintiffs less than three

   days after the floods began.

10. Unlike many Harris County residents, Plaintiffs at all times were provided

   essentials like food, water, a dry place to sleep, and access to their medicines

   over the roughly 48-72 hours from when the water began to rise until they were

   transported to other facilities by the TDCJ-PD.

11. Plaintiffs complain that their usual hot meals were not provided for each meal

   during this time, that after the mess hall flooded they had to eat cold

   sandwiches and other prepared foods, and that these brown-bag meals were

   brought to their dorms at different times than the usual mess hall meal times.

12. Plaintiffs also appear to blame the STTC for “failure to take reasonable steps to
Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 20 of 34



   avoid residents breaching parole,” by leaving the facility without TDCJ-PD

   permission – in other words, they allege that the STTC should have stopped the

   Plaintiffs from their own choice to walk away from the facility. The Plaintiffs

   were each responsible for their own decisions to follow or break the TDCJ-PD

   rules governing their release, and must accept that responsibility.

13. Similarly, despite the fact the STTC is not a prison or jail, Plaintiffs blame the

   Defendants for a “failure to safeguard the public by manning security gates or

   securing the perimeter,” – in other words, failing to protect the public from

   Plaintiffs by forcibly keeping them in the facility. The STTC may only house but

   does not have the authority to imprison the Plaintiffs – only TDCJ-PD has that

   authority.

14. Plaintiffs remaining complaints are at worst that some personal property was

   damaged by water, or that walking in the calf-high water on the STTC grounds

   led to minor rashes or irritation for a few days afterwards. Defendants note that

   all STTC staff worked in the same conditions, and not one of them experienced

   more than minor irritation or required any medical care.



                    III.    SPECIFIC FACTS AND DENIALS

15. STTC staff was fully present at the facility during Hurricane Harvey, and lived

   through the exact same conditions as the Plaintiffs, while diligently carrying out

   their duties to ensure the Plaintiffs were cared for – including ensuring that

   they were fed, had clean water, and had access to their medication amongst

   other things.

16. The STTC staff on-site included an assistant facility director, two lieutenants, a
Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 21 of 34



   shift supervisor, a food service supervisor, and other staff for a total that

   exceeded the number of staff usually present. They were supported by an off-

   site emergency response team that coordinated efforts with TDCJ-PD and

   others to manage the response to Hurricane Harvey.

17. STTC staff worked around the clock, sleeping on makeshift cots in flooded

   administration buildings when they got a chance to rest, and living under the

   same conditions as Plaintiffs, as in fact most of Houston, experienced.

18. STTC staff remained diligent and on-duty even while flooding from Hurricane

   Harvey threatened and affected their own homes and families. Like so many in

   Houston and throughout southeast Texas, some STTC staff lost their homes,

   their cars and other possessions, and their families were displaced to temporary

   shelters. Some have yet to fully recover more than a year later.

19. Defendants will show that the STTC staff met Hurricane Harvey with the same

   determination, good will, and resilience exhibited by the vast majority of the

   citizens of Houston, Harris County, and southeast Texas, and displayed

   commendable dedication and professionalism during this disaster.

20. The allegation that STTC staff “abandoned” Plaintiffs at the facility is false,

   baseless, and inconsistent with the Plaintiffs’ own statements.

21. Defendants note that about one-third of the Plaintiffs bringing this action were

   housed in Building 6, a one-story building situated on the highest part of the

   STTC grounds. That building did not flood, never lost power, lights, or air

   conditioning, and was staffed the entire duration of Hurricane Harvey and the

   resultant floods.
Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 22 of 34



   A. Background - Plaintiffs’ Placement at the STTC by TDCJ-PD

22. The STTC halfway house facility was originally built as a campus for a bible

   college. It contains six buildings including dormitories, classrooms, and dining

   areas, spread over grounds of approximately nine acres in Houston. It is capable

   of housing up to 500 or so residents.

23. The TDCJ-PD places certain prisoners released under its supervision and

   custody, like Plaintiffs, in halfway house programs as a condition of their

   release. TEX. GOV'T CODE. § 508.119.

24. Those prisoners TDCJ-PD places at a halfway house are required, amongst

   other things, to remain on the facility grounds except as permitted by their

   TDCJ-PD parole officer or supervisor.

25. Over and above this requirement, approximately one-third of the STTC

   residents were supervised by TDCJ-PD under the Super-Intensive Supervision

   Program (“SISP”). SISP is the highest level of supervision provided by the

   TDCJ-PD for potentially dangerous offenders. All offenders on SISP are

   monitored with Global Positioning System (GPS) technology and are required

   to comply with 24 hour-a-day schedules, which must be pre-approved in writing

   by their Parole Officer.

26. In addition, about half of the STTC residents were sex offenders supervised by

   TDCJ-PD under heightened conditions intended to prevent them from re-

   offending while in the Houston community.

27. The STTC management and staff is both male and female, however for safety

   and security reasons the STTC only accepts male parolees.

28. The STTC facility grounds are entirely out of the 100-year floodplain, and only a
Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 23 of 34



   small portion are within the 500-year floodplain. The facility had no history of

   significant flooding, even in prior hurricanes.



   B. Preparations for Hurricane Harvey by TDCJ-PD and the STTC

29. TDCJ-PD requires the STTC to submit an updated Hurricane Emergency Plan

   (“Plan”) every year for agency approval. The 2017 Plan was approved

   approximately three months before Hurricane Harvey, and provides that the

   decision to evacuate any part of the facility will be made solely by the TDCJ-PD.

   The STTC Facility Director may make a decision to evacuate, but only upon

   determination that circumstances exist which in her opinion create the

   possibility of loss of life or injury to residents or staff.

30. The Plan specified that any potential evacuation would be conducted by the

   TDCJ-PD using its resources for transportation, security, and relocation.

   Because Plaintiffs remained in state custody, TDCJ-PD had authority to

   supervise and manage Plaintiffs under the circumstances while also considering

   the protection of the general public.

31. As Hurricane Harvey developed, the STTC and the TDCJ-PD monitored the

   NOAA Tropical Prediction Center 5-Day Projection of the storm and put their

   response teams on standby when the projection included Houston. The facility

   inventoried its stores of emergency supplies and equipment, and added to them

   as prudent.

32. The STTC planned to “weather in place” in accordance with the orders of TDCJ-

   PD, the recommendations of the City of Houston, Harris County, and every

   other civil authority at the time of Hurricane Harvey, based on an anticipated
Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 24 of 34



   widespread rainfall amounts of 10-15”.




33. Pursuant to the Plan, TDCJ-PD and the Defendants each set up Emergency

   Command Posts that were active and in full communication with each other, as

   well as with regional authorities, prior to the arrival of Hurricane Harvey.

34. The STTC, in accordance with the Plan, was prepared with emergency supplies

   and equipment including more than: three days of bottled water for all parolees

   and staff; three days of food supplies for all parolees and staff; stocked First Aid

   Kits; emergency generators and fuel stocks; and emergency lighting, as well as

   many other supplies.

35. In particular, the STTC added extra supplies to its emergency stores in the week

   prior to Hurricane Harvey, including delivery of over 3500 bottles of bottled

   water, and nearly twenty-two thousand (22,000) pounds of food deliveries.

36. On August 24, the STTC was locked down, and the parolees were informed that

   movement off the grounds was cancelled until the hurricane passed.
Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 25 of 34



   C. Hurricane Harvey Events and Timeline

37. Hurricane Harvey produced an historically unprecedented rainfall of nearly 45

   inches over the four days from August 26 through August 29, 2017. Not only

   were these rainfall amounts far in excess of what had been forecast, they

   covered a far greater area as well. Hurricane Harvey delivered the broadest and

   most intense rainfall ever recorded anywhere in the United States since reliable

   historical records began.

 38. One day into the rain, the National Weather Service called it “unprecedented,”

    and warned the impacts were “unknown,” and “beyond anything experienced.”




39. On the morning of August 27, as a result of the historic record rainfall,

   floodwaters rose with unprecedented speed and scope throughout Houston. All

   major highways became impassable, and surface streets were navigable by boat

   only. Official Houston Transtar maps showed road closures that covered the
Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 26 of 34



   entire city:




40. The result was that by the time the water rose, it was impossible to evacuate

   from the Houston area due to the flooded highways.

41. For example, Ben Taub Hospital, Houston’s largest level 1 trauma center,

   originally intended to shelter in place per the recommendations of Houston and

   Harris County officials. When the hospital, in light of the rising waters, began

   patient evacuation on August 27, it had to abort its plan because neither

   outgoing nor incoming ambulances could get through flooded streets around

   the hospital complex.

42. The Hurricane Harvey rains were so intense that by the morning of August 28,

   the National Weather Service had to update its map colors, as the old map key

   did not include colors for the rain levels Houston was experiencing:
Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 27 of 34




43. The speed of the rising floodwaters prompted thousands of calls to 911, but left

   Houston first responders only able to respond to life-threatening emergencies.

   Houston Police conducted over 2,000 rescue missions as residents were forced

   to their rooftops by floodwaters.

44. Hurricane Harvey produced the largest and most devastating structural

   flooding event ever recorded in Harris County. More than 150,000 homes were

   flooded, and over 300,000 homes lost power, forcing between 30,000 and

   40,000 Harris County residents to seek housing in temporary shelters. At least

   another 30,000 were displaced throughout southeast Texas.

45. The Harris County Flood Control District estimates that of the 154,170 flooded

   homes, over two-thirds were outside the 100-year floodplain and nearly half

   were outside both the 100-year and 500-year floodplains.



   D. Events at the STTC, and actions by the TDCJ-PD

46. At about 11pm on August 26, STTC noted that Houston roadways were

   beginning to flood, although not around the facility. In case further flooding
Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 28 of 34



   impacted staff shift changes, the STTC on-site staff remained in place. Over the

   next three days, some off-duty staff would find ways to get through flooded

   roads to the STTC and help their coworkers do their jobs. The STTC never had

   less than a full staff.

47. On the afternoon of August 27, some pooling water seeped into STTC Building

   4, a 34-bunk dorm. A small amount got into two resident rooms but was

   cleaned up with a shop-vac and caused no damage. Sandbags were placed by the

   outside door, and the water receded during a break in the rain.

48. As of about 11pm on August 27, the TDCJ-PD informed the STTC that the

   Houston Fire Department was considering bringing evacuated sex offenders to

   the STTC, as they could not be brought to shelter facilities due to their sex

   offender status. Noting that Houston first responders apparently considered the

   STTC safe to shelter evacuees, the facility nonetheless advised they were at

   capacity and could not accept them.

49. At about 4:40am on August 28, the STTC reported standing water in Building 1,

   the administration building containing the control area and the medication

   storage room. STTC staff were able to continue working at their posts despite

   the water, and the control room and the medication room operated normally.

   Sandbags appeared to control the water, and staff monitored the issue.

50. Later in the morning on August 28, water reached the ground floor of three of

   the dorms – Buildings 3, 4, and 5. Over the next 24 hours the water level

   gradually rose to about a foot to eighteen inches high in the worst places, but

   never reached the level of the bottom bunks and bedding in any dorm. STTC

   staff reported this to the TDCJ-PD, and moved Plaintiffs to the second floor of
Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 29 of 34



   their dorms or to buildings that did not flood. Building 3 and 5 are below:




51. Once the rising water reached STTC housing on August 28 and the scope of the

   flooding became apparent, TDCJ-PD began efforts to relocate Plaintiffs to

   another facility. Over the next roughly 36 hours, TDCJ-PD bus convoys would

   make three separate attempts to reach the STTC, but had to turn back twice due

   to impassable road flooding.

52. Only TDCJ-PD could authorize the evacuation of the facility under the

   circumstances, or could provide the transportation or alternative housing

   required. In fact, since roughly half of the Plaintiffs were registered sex

   offenders, they would not have been admitted to emergency shelters and thus

   required special relocation facilities.

53. The STTC staff therefore worked to keep essential operations going in spite of

   the flooding. Staff ran the kitchen and fed the parolees hot meals as long as

   possible, and then prepared and distributed brown-bag meals. Parolees ate at
Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 30 of 34



   least twice a day, and had ample clean water.

54. Power had to be cut off to dorms in Buildings 3, 4, and 5 when the water rose

   near the level of the lowest wall AC outlets. Staff used generators to power

   limited equipment in Buildings 1 and 2 to maintain control, medication

   distribution, and kitchen functions.

55. When the STTC medication distribution room flooded, staff relocated the

   medicines to the facility control room where they centralized operations, and

   distributed medications to the parolees from that location rather than the usual

   “pill window.”

56. STTC staff made rounds and conducted counts of each dorm building regularly,

   and distributed food and bottled water when the flooding prevented feeding at

   the mess hall.

57. On August 28, high water forced the first two TDCJ-PD evacuation efforts to

   turn back, after getting so close on one attempt that TDCJ-PD ordered the STTC

   to marshal the parolees outside for loading onto the buses. When the buses did

   not arrive, the STTC staff continued to maintain facility operations, including

   food, water and medicine distribution.

58. The TDCJ-PD bus convoy successfully reached the STTC a little after 7pm on

   August 29.

59. By this time, the water had greatly receded, and many parolees were reluctant

   to leave the facility for relocation to more restrictive TDCJ locations. TDCJ-PD

   officers had to display weapons to maintain order and get the parolees onto the

   evacuation buses.

60. STTC staff had already prepared bus rosters as directed by the TDCJ-PD, and
Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 31 of 34



   turned over medications for each resident to the TDCJ-PD officials in

   accordance with those rosters to ensure each resident was accompanied by their

   medications.

61. The TDCJ-PD staff of parole and other officers conducted the evacuation, and

   the buses were fully loaded by about 11:30pm. The buses then departed and the

   STTC evacuation was complete.



                  AFFIRMATIVE AND OTHER DEFENSES

62. The STTC flooding took place due to a once in 5000-year rain event – that is,

   rainfall of this magnitude is estimated to occur only once every 5000 years. No

   premises liability claim is possible, as this level of rain event was not

   foreseeable, nor was planning for it reasonable.

63. The STTC acted as a government contractor, and had no discretion to release

   the Plaintiffs from the conditions of their supervision by TDCJ-PD at the

   facility. Defendants claim both good-faith immunity and immunity as a

   government contractor.

64. Defendants deny that their actions were negligent, and assert that the flooding

   resulting from Hurricane Harvey was an act of God, and was inherently

   unforeseeable. Defendants acted at all times reasonably under these

   circumstances, and their actions were not the cause or proximate cause of any

   damages alleged by Plaintiffs.

65. Plaintiffs have no contract with Defendants; the cost of their placement at the

   STTC program is borne by TDCJ-PD. Though Plaintiffs are required to seek

   employment, and compensate the TDCJ-PD for the costs of their placement,
Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 32 of 34



   they have not done so.

66. Plaintiffs have no third-party contract claim. The rights that are granted in a

   particular contract to third parties are up to the parties to the contract to

   decide. See generally MCI Telecomm. Corp. v. Tex. Utils. Elec. Co., 995 S.W.2d

   647, 651 (Tex.1999) (“In determining whether a third party can enforce a

   contract, the intention of the contracting parties is controlling.”). The parties

   are free to give third parties rights or not give them rights. See id. The parties

   are specifically free to determine whether a third party is vested with authority

   to sue for enforcement of the contract. See EPGT Tex. Pipeline, L.P. v. Harris

   County Flood Control Dist., 176 S.W.3d 330, 340 (Tex.App.-Houston [1st Dist.]

   2004, pet. dism'd). An express disclaimer is not necessary to deny third party

   rights; instead, an express obligation is necessary to confer them. See Union

   Pac. R.R. Co. v. Novus Int'l, Inc., 113 S.W.3d 418, 422-23 (Tex.App.-Houston

   [1st Dist.] 2003, pet. denied) (concluding that the contract did not clearly spell

   out an intent on behalf of the contracting parties to confer a direct benefit to a

   third party).

67. Defendants assert proportionate responsibility and the right to designate other

   parties who are responsible for any damages Plaintiffs allege or prove.

   Defendants request the jury to compare the extent to which Plaintiffs and any

   other persons or parties, whether joined in this suit or not, may have caused or

   contributed to cause any damages complained of by Plaintiffs.

68. Defendants deny that any Plaintiff is entitled to any damages of any type, but in

   the alternative plead any and all limitations and caps on damages that may

   apply to this cause of action. This assertion and pleading includes, but is not
   Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 33 of 34



       limited to, any and all caps, bars and limitations set forth under TEX. CIV.

       PRAC. & REM. CODE §32.001-§32.003, §33.001-§33.004, §33.011-§33.017,

       §41.001-§41.013, §74.301-§74.303, §74.501-§74.507.

   69. Defendants deny that any Plaintiff is entitled to future damages. However, to

       the extent that any Plaintiff may recover future damages, Defendants assert that

       any such damages must be reduced to present value.



                                       PRAYER

       Defendants pray that all claims against them be dismissed; that Plaintiffs take

nothing, that Defendants be awarded all attorney’s fees and costs, and for such other

and further relief to which they may be justly entitled.


                                         Respectfully submitted,


                                         By: /s/ Tim Flocos
                                         Tim Flocos, TX Bar No. 24033697
                                         TIM FLOCOS ATTORNEY AT LAW
                                         1411 West Ave., Suite 200
                                         Austin, Texas 78701
                                         Telephone: 512.467.6076
                                         tim@timflocos.com


                                         _____/s/__________________
                                         Shawn Fitzpatrick, TX Bar No. 00787474
                                         FITZPATRICK & KOSANOVICH, P.C.
                                         P.O. Box 831121
                                         San Antonio, Texas 78283-1121
                                         (210) 408-6793
                                         skf@fitzkoslaw.com

                                         Attorneys for Defendants
    Case 4:19-cv-02773 Document 1 Filed on 07/27/19 in TXSD Page 34 of 34



                         NOTICE OF ELECTRONIC FILING

       I, TIM FLOCOS, do hereby certify that I have electronically submitted for filing

a correct copy of the foregoing document in accordance with the Electronic Case Files

system on this the 27th day of July, 2019.



                                                /s/ Tim Flocos
                                                TIM FLOCOS



                             CERTIFICATE OF SERVICE

       I, TIM FLOCOS, do hereby certify that a true and correct copy of the foregoing
instrument has been served on the following person(s) on July 27, 2019, via the Court’s
electronic notice and filing system and/or U.S. Mail:
     Scott Arnold
     The Law Office of Scott Arnold, PC
     310 Main Street, Ste. 200
     Houston, Texas 77002

     Maverick Ray and Matthew Marzak
     Maverick Ray and Associates, LLC
     310 Main Street, Ste 300
     Houston, Texas 77002


                                                /s/ Tim Flocos
                                                TIM FLOCOS
